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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                   Case No: 2:15-cv-01431-JRG-RSP
                                    §
vs.                                 §                   LEAD CASE
                                    §
GUARDIAN PROTECTION SERVICES, §
INC.                                §
                                    §
      Defendant.                    §
____________________________________§
ROTHSCHILD CONNECTED DEVICES §
INNOVATIONS, LLC                    §
                                    §
      Plaintiff,                    §                   Case No: 2:15-cv-001496-JRG-RSP
                                    §
vs.                                 §                   CONSOLIDATED CASE
                                    §
GUARDIAN ALARM COMPANY              §
                                    §
      Defendant.                    §
___________________________________ §

                  ORDER OF DISMISSAL OF DEFENDANT GUARDIAN
                     ALARM COMPANY WITHOUT PREJUDICE

       On this day the Court considered the Unopposed Motion to Dismiss Guardian Alarm
Company Without Prejudice, in the lawsuit between Plaintiff Rothschild Connected Devices
Innovations, LLC (“Symbology”) and Guardian Alarm Company.               Having considered the
Motion and the pleadings in this case, the Court is of the opinion that the Motion should be, and
is hereby, GRANTED.
       It is therefore ORDERED that all claims asserted by Rothschild against Guardian Alarm
Company are hereby DISMISSED WITHOUT PREJUDICE, with each party to bear its own
costs, attorneys’ fees and other litigation expenses.
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        SIGNED this 3rd day of January, 2012.
        SIGNED this 23rd day of November, 2015.




                                                ____________________________________
                                                ROY S. PAYNE
                                                UNITED STATES MAGISTRATE JUDGE
